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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
vs.                                        )   CRIMINAL NO. 13-00016-CG
                                           )
RICARDO MORON,                             )
                                           )
      Defendant.                           )

                            ORDER OF DETENTION

      This matter came on for a bond revocation hearing this date, at which the

defendant did not contest the allegations in the U. S. Probation report. The United

States orally moved for revocation of the defendant’s conditions of release, and said

motion was granted.

      In light of the fact that the defendant has entered a plea of guilty, and

because this is a presumption case, and the government is not requesting that the

defendant remain on conditions of release in order to complete his cooperation, the

order setting conditions of release entered on January 9, 2013 (Doc. 17) hereby is

REVOKED, and the defendant is REMANDED to the custody of the U.S. Marshal,

pending the sentencing hearing currently scheduled for October 15, 2013, at 1:00

p.m., to be held in courtroom 2B, United States Courthouse, Mobile, Alabama.

      The United States Marshal is ORDERED to produce the defendant for the

sentencing hearing.

      DONE and ORDERED this 11th day of September, 2013.

                                       /s/ Callie V. S. Granade
                                       UNITED STATES DISTRICT JUDGE
